B1 (Official Form 1)Case
                     (04/13)   14-29080             Doc 1          Filed 08/07/14             Entered 08/07/14 16:51:02                        Desc Main
                                      UNITED STATES BANKRUPTCYDocument
                                                              COURT                           Page 1 of 47
                                                                                                                                     VOLUNTARY PETITION
                                     Northern
                                     __________District of __________
                                               District of Illinois
 Name of Debtor (if individual, enter Last, First, Middle):                                    Name of Joint Debtor (Spouse) (Last, First, Middle):
  Villagomez, Imelda                                                                           NONE
 All Other Names used by the Debtor in the last 8 years                                        All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                   (include married, maiden, and trade names):
  Palma, Imelda
 Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                 Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN
 (if more than one, state all):                                                                (if more than one, state all):
                                    3830
 Street Address of Debtor (No. and Street, City, and State):                                   Street Address of Joint Debtor (No. and Street, City, and State):
 8508 West 45th Place, 1B
 Lyons, IL
                                                                    ZIP CODE 60534                                                                          ZIP CODE
 County of Residence or of the Principal Place of Business:                                    County of Residence or of the Principal Place of Business:
                                                                       Cook                                                                                   Cook
 Mailing Address of Debtor (if different from street address):                                 Mailing Address of Joint Debtor (if different from street address):
  Same as above

                                                                 ZIP CODE                                                                                   ZIP CODE
 Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                         ZIP CODE
                           Type of Debtor                                        Nature of Business                          Chapter of Bankruptcy Code Under Which
                       (Form of Organization)                        (Check one box.)                                           the Petition is Filed (Check one box.)
                          (Check one box.)
                                                                           Health Care Business                       ✔      Chapter 7                  Chapter 15 Petition for
  ✔     Individual (includes Joint Debtors)                                Single Asset Real Estate as defined in            Chapter 9                  Recognition of a Foreign
        See Exhibit D on page 2 of this form.                              11 U.S.C. § 101(51B)                              Chapter 11                 Main Proceeding
        Corporation (includes LLC and LLP)                                 Railroad                                          Chapter 12                 Chapter 15 Petition for
        Partnership                                                        Stockbroker                                       Chapter 13                 Recognition of a Foreign
        Other (If debtor is not one of the above entities, check           Commodity Broker                                                             Nonmain Proceeding
        this box and state type of entity below.)                          Clearing Bank
                                                                           Other
                        Chapter 15 Debtors                                       Tax-Exempt Entity                                        Nature of Debts
 Country of debtor’s center of main interests:                                (Check box, if applicable.)                                 (Check one box.)
                                                                                                                      ✔ Debts are primarily consumer               Debts are
                                                                          Debtor is a tax-exempt organization           debts, defined in 11 U.S.C.                primarily
 Each country in which a foreign proceeding by, regarding, or             under title 26 of the United States           § 101(8) as “incurred by an                business debts.
 against debtor is pending:                                               Code (the Internal Revenue Code).             individual primarily for a
                                                                                                                        personal, family, or
                                                                                                                        household purpose.”
                                Filing Fee (Check one box.)                                                                 Chapter 11 Debtors
                                                                                               Check one box:
  ✔     Full Filing Fee attached.                                                                  Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach
        signed application for the court’s consideration certifying that the debtor is         Check if:
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.              Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                   insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must               on 4/01/16 and every three years thereafter).
        attach signed application for the court’s consideration. See Official Form 3B.         -----------------------------------
                                                                                               Check all applicable boxes:
                                                                                                   A plan is being filed with this petition.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                   of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                        THIS SPACE IS FOR
                                                                                                                                                               COURT USE ONLY
           Debtor estimates that funds will be available for distribution to unsecured creditors.
  ✔        Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
           distribution to unsecured creditors.
 Estimated Number of Creditors
  ✔
 1-49          50-99          100-199           200-999    1,000-          5,001-         10,001-          25,001-          50,001-           Over
                                                           5,000           10,000         25,000           50,000           100,000           100,000

 Estimated Assets
  ✔
 $0 to         $50,001 to     $100,001 to       $500,001   $1,000,001      $10,000,001    $50,000,001      $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000          to $1      to $10          to $50         to $100          to $500           to $1 billion    $1 billion
                                                million    million         million        million          million
 Estimated Liabilities
                               ✔
 $0 to         $50,001 to     $100,001 to       $500,001   $1,000,001      $10,000,001    $50,000,001      $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000          to $1      to $10          to $50         to $100          to $500           to $1 billion    $1 billion
                                                million    million         million        million          million
B1 (Official Form 1)Case
                     (04/13) 14-29080           Doc 1 Filed 08/07/14 Entered 08/07/14 16:51:02 Desc Main                                                                  Page 2
 Voluntary Petition                                           Document              Page
                                                                                     Name of2    of 47
                                                                                               Debtor(s):
 (This page must be completed and filed in every case.)                                Imelda Villagomez
                                     All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                            Case Number:                                      Date Filed:
                NONE
 Where Filed:
 Location                                                                            Case Number:                                      Date Filed:
 Where Filed: NONE
                      Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
 Name of Debtor:                                                                     Case Number:                                      Date Filed:
                      NONE
 District:                                                                                      Relationship:                                    Judge:



                                         Exhibit A                                                                                  Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                                (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                    whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)
                                                                                                I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                                informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                                of title 11, United States Code, and have explained the relief available under each
                                                                                                such chapter. I further certify that I have delivered to the debtor the notice required
                                                                                                by 11 U.S.C. § 342(b).
        Exhibit A is attached and made a part of this petition.
                                                                                                X     /s/Martin J. O'Hearn                       05/17/2014
                                                                                                    Signature of Attorney for Debtor(s)       (Date)

                                                                                      Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

        Yes, and Exhibit C is attached and made a part of this petition.

 ✔      No.



                                                                                      Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

  ✔    Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

 If this is a joint petition:

        Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.




                                                                      Information Regarding the Debtor - Venue
                                                                                (Check any applicable box.)
              ✔        Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                       preceding the date of this petition or for a longer part of such 180 days than in any other District.

                       There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

                       Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has
                       no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this
                       District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                   Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                           (Check all applicable boxes.)

                          Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                (Name of landlord that obtained judgment)



                                                                                                (Address of landlord)

                          Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                          entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                          Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing
                          of the petition.

                          Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
B1 (Official Form 1)Case
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 Voluntary Petition                                                Document     Page
                                                                                Name of 3 of 47
                                                                                        Debtor(s):
 (This page must be completed and filed in every case.)                                      Imelda Villagomez
                                                                                     Signatures
                     Signature(s) of Debtor(s) (Individual/Joint)                                                    Signature of a Foreign Representative

 I declare under penalty of perjury that the information provided in this petition is true   I declare under penalty of perjury that the information provided in this petition is true
 and correct.                                                                                and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
 or 13 of title 11, United States Code, understand the relief available under each such      (Check only one box.)
 chapter, and choose to proceed under chapter 7.
                                                                                                  I request relief in accordance with chapter 15 of title 11, United States Code.
 [If no attorney represents me and no bankruptcy petition preparer signs the petition] I          Certified copies of the documents required by 11 U.S.C. § 1515 are attached.
 have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                  Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
 I request relief in accordance with the chapter of title 11, United States Code,                 chapter of title 11 specified in this petition. A certified copy of the
 specified in this petition.                                                                       order granting recognition of the foreign main proceeding is attached.

 X      /s/ Imelda Villagomez                                                                X
      Signature of Debtor                                                                         (Signature of Foreign Representative)

 X
      Signature of Joint Debtor                                                                   (Printed Name of Foreign Representative)

      Telephone Number (if not represented by attorney)
        05/17/2014                                                                                Date
      Date
                                  Signature of Attorney*                                                 Signature of Non-Attorney Bankruptcy Petition Preparer

 X      /s/ Martin J. O'Hearn                                                                I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
      Signature of Attorney for Debtor(s)                                                    defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have
        Martin J. O'Hearn, Atty # 6185904                                                    provided the debtor with a copy of this document and the notices and information
      Printed Name of Attorney for Debtor(s)                                                 required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
        Law Offices of Martin J. O'Hearn                                                     guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum
      Firm Name                                                                              fee for services chargeable by bankruptcy petition preparers, I have given the debtor
                                                                                             notice of the maximum amount before preparing any document for filing for a debtor
        10047 South Western Avenue                                                           or accepting any fee from the debtor, as required in that section. Official Form 19 is
        Chicago, Illinois 60643                                                              attached.
      Address
       773-238-4400
      Telephone Number                                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer
        05/17/2014
      Date
                                                                                                  Social-Security number (If the bankruptcy petition preparer is not an individual,
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a                    state the Social-Security number of the officer, principal, responsible person or
 certification that the attorney has no knowledge after an inquiry that the information           partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
 in the schedules is incorrect.

                   Signature of Debtor (Corporation/Partnership)

 I declare under penalty of perjury that the information provided in this petition is true        Address
 and correct, and that I have been authorized to file this petition on behalf of the
 debtor.
                                                                                             X
 The debtor requests the relief in accordance with the chapter of title 11, United States         Signature
 Code, specified in this petition.

 X                                                                                                Date
      Signature of Authorized Individual
                                                                                             Signature of bankruptcy petition preparer or officer, principal, responsible person, or
      Printed Name of Authorized Individual                                                  partner whose Social-Security number is provided above.

      Title of Authorized Individual                                                         Names and Social-Security numbers of all other individuals who prepared or assisted
                                                                                             in preparing this document unless the bankruptcy petition preparer is not an
      Date
                                                                                             individual.

                                                                                             If more than one person prepared this document, attach additional sheets conforming
                                                                                             to the appropriate official form for each person.

                                                                                             A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and
                                                                                             the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
                                                                                             both. 11 U.S.C. § 110; 18 U.S.C. § 156.
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B 1D (Official Form 1, Exhibit D) (12/09)



                         UNITED STATES BANKRUPTCY COURT
                                            Northern                 Illinois
                                            __________ District of __________


                Imelda Villagomez
          In re__________________________                                       Case No._____________
                                Debtor                                                    (if known)




     EXHIBIT D - INDIVIDUAL DEBTOR’S STATEMENT OF COMPLIANCE WITH
                     CREDIT COUNSELING REQUIREMENT

        Warning: You must be able to check truthfully one of the five statements regarding
credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
case, and the court can dismiss any case you do file. If that happens, you will lose whatever
filing fee you paid, and your creditors will be able to resume collection activities against
you. If your case is dismissed and you file another bankruptcy case later, you may be
required to pay a second filing fee and you may have to take extra steps to stop creditors’
collection activities.

       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
must complete and file a separate Exhibit D. Check one of the five statements below and attach
any documents as directed.

          ✔
          u 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
developed through the agency.

        u 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, but I do not have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the
services provided to you and a copy of any debt repayment plan developed through the agency
no later than 14 days after your bankruptcy case is filed.
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  B 1D (Official Form 1, Exh. D) (12/09) – Cont.


        u 3. I certify that I requested credit counseling services from an approved agency but
was unable to obtain the services during the seven days from the time I made my request, and the
following exigent circumstances merit a temporary waiver of the credit counseling requirement
so I can file my bankruptcy case now. [Summarize exigent circumstances here.]
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


       If your certification is satisfactory to the court, you must still obtain the credit
counseling briefing within the first 30 days after you file your bankruptcy petition and
promptly file a certificate from the agency that provided the counseling, together with a
copy of any debt management plan developed through the agency. Failure to fulfill these
requirements may result in dismissal of your case. Any extension of the 30-day deadline
can be granted only for cause and is limited to a maximum of 15 days. Your case may also
be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.

       u 4. I am not required to receive a credit counseling briefing because of: [Check the
applicable statement.] [Must be accompanied by a motion for determination by the court.]

                 u Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
         illness or mental deficiency so as to be incapable of realizing and making rational
         decisions with respect to financial responsibilities.);
                 u Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
         extent of being unable, after reasonable effort, to participate in a credit counseling
         briefing in person, by telephone, or through the Internet.);
                 u Active military duty in a military combat zone.

       u 5. The United States trustee or bankruptcy administrator has determined that the credit
counseling requirement of 11 U.S.C. ' 109(h) does not apply in this district.


       I certify under penalty of perjury that the information provided above is true and
correct.


                                                                /s/ Imelda Villagomez
                                          Signature of Debtor: ________________________

                                                    5/17/2014
                                          Date: _________________
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B 201A (Form 201A) (11/11)
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                             UNITED STATES BANKRUPTCY COURT

                      NOTICE TO CONSUMER DEBTOR(S) UNDER §342(b)
                               OF THE BANKRUPTCY CODE
        In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer
debts: (1) Describes briefly the services available from credit counseling services; (2) Describes briefly the
purposes, benefits and costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you
about bankruptcy crimes and notifies you that the Attorney General may examine all information you supply in
connection with a bankruptcy case.

        You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek
the advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court
employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In
order to ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that
you notify the court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two
individuals married to each other), and each spouse lists the same mailing address on the bankruptcy petition, you
and your spouse will generally receive a single copy of each notice mailed from the bankruptcy court in a jointly-
addressed envelope, unless you file a statement with the court requesting that each spouse receive a separate copy of
all notices.

1. Services Available from Credit Counseling Agencies

        With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file
for bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities
for credit counseling and provides assistance in performing a budget analysis. The briefing must be given
within 180 days before the bankruptcy filing. The briefing may be provided individually or in a group (including
briefings conducted by telephone or on the Internet) and must be provided by a nonprofit budget and credit
counseling agency approved by the United States trustee or bankruptcy administrator. The clerk of the bankruptcy
court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a joint
case must complete the briefing.

        In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
management instructional course before he or she can receive a discharge. The clerk also has a list of approved
financial management instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

         Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total fee $306)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing
debts. Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine
whether the case should be permitted to proceed under chapter 7. If your income is greater than the median income
for your state of residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the
trustee, or creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the
Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may
have the right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to
pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are
found to have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny
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         Form B 201A, Notice to ConsumerDocument
                                         Debtor(s) Page 7 of 47                                          Page 2

your discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
        Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore,
you may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic
support and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations;
certain debts which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused
by operating a motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove
that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy
court may determine that the debt is not discharged.

        Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing
fee, $46 administrative fee: Total fee $281)
        Chapter 13 is designed for individuals with regular income who would like to pay all or part of
their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed
certain dollar amounts set forth in the Bankruptcy Code.
        Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you
owe them, using your future earnings. The period allowed by the court to repay your debts may be three years or
five years, depending upon your income and other factors. The court must approve your plan before it can take
effect.
        After completing the payments under your plan, your debts are generally discharged except for domestic
support obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts
which are not properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury;
and certain long term secured obligations.

        Chapter 11: Reorganization ($1000 filing fee, $46 administrative fee: Total fee $1046)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed
with an attorney.

        Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)
        Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those
whose income arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

        A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty
of perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or
both. All information supplied by a debtor in connection with a bankruptcy case is subject to examination by the
Attorney General acting through the Office of the United States Trustee, the Office of the United States Attorney,
and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if
this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and
the local rules of the court. The documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.
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B6 Summary (Official Form 6-Summary) (12/13)



                                  UNITED STATES BANKRUPTCY COURT
                                                 Northern District of Illinois

 In re Imelda Villagomez, Debtor(s)                               Case No.

                                                                 Chapter            7


                                      SUMMARY OF SCHEDULES
 Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the total from Schedules
 A, B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the Debtor’s
 assets. Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual
 debtors also must complete the “Statistical Summary of Certain Liabilities and Related Data” if they file a case under Chapter 7, 11, or
 13.



                                                                                   AMOUNTS SCHEDULED
                                                          NO.
  NAME OF SCHEDULE                     ATTACHED
                                                          OF             ASSETS             LIABILITIES               OTHER
                                                        SHEETS
                                        (YES/NO)

  A – Real Property
                                           YES              1       $20,000.00

  B – Personal Property
                                           YES              3       $4,415.00

  C – Property Claimed as Exempt
                                           YES              1

  D – Creditors Holding Secured
                                           YES              1                               $130,966.00
      Claims

  E – Creditors Holding Unsecured
                                           YES              2                               $0
      Priority Claims

  F – Creditors Holding Unsecured
                                           YES              3                               $13,566.81
      Nonpriority Claims

  G – Executory Contracts and
                                           YES              1
      Unexpired Leases

  H - Codebtors
                                           YES              1

  I – Your Income
                                           YES              2                                                     $1,823.66
  J – Your Expenses
                                           YES              3                                                     $2,250.00

                                                           18


                                                                    $24,415.00


                                                                                            $144,532.81
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Form 6-Statistical Summary (12/13)              Document     Page 9 of 47

                                UNITED STATES BANKRUPTCY COURT
                                              Northern District of Illinois
In re Imelda Villagomez, Debtor(s)                              Case No.

                                                                Chapter         7

 STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
        If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code
(11 U.S.C. § 101(8)), filing a case under 7, 11 or 13, you must report all information requested below.

         [ ] Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are required to
report any information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.


Type of Liability                                                                               Amount

Domestic Support Obligations (from Schedule E)                                                  $0

Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                      $0


Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E)              $0
(whether disputed or undisputed)

Student Loans Obligations (from Schedule F)                                                     $2,586.00
Domestic Support, Separation Agreement, and Divorce Decree Obligations Not
Reported on Schedule E.                                                                         $0

Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)       $0

                                                                                    TOTAL       $2,586.00

State the following:

 Average Income (from Schedule I, Line 12)                          $1,823.66

 Average Expenses (from Schedule J, Line 22)                        $2,250.00

 Current Monthly Income (from Form 22A Line 12; OR,                 $2,286.35
 Form 22 B Line 11; OR, Form 22C Line 20)

State the following:
 1. Total from Schedule D, “UNSECURED PORTION, IF
 ANY” column.                                                                                   $0
 2. Total from Schedule E, “AMOUNT ENTITLED TO
 PRIORITY” column.                                                 $0
 3. Total from Schedule E, “AMOUNT NOT ENTITLED TO
 PRIORITY, IF ANY” column.                                                                      $0

 4. Total from Schedule F                                                                       $13,566.81

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                   $13,566.81
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B6A (Offical Form B6A) (12/07)

In re Imelda Villagomez , Debtor(s)                   Case No.



                                                SCHEDULE A - REAL PROPERTY
    Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the
debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."

   Do not include interests in executory contracts and unexpired leases on this schedule. List them in Sched,ule G - Executory Contracts and
Unexpired Leases.

    If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to
hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim."

    If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.




                                                                                     Husband, Wife,
              DESCRIPTION                                 NATURE OF                                    CURRENT VALUE OF                   AMOUNT




                                                                                      Community
                                                                                                       DEBTOR’SINTEREST



                                                                                        Joint, or
                  AND                                      DEBTOR’S                                       IN PROPERTY,                       OF
               LOCATION                                    INTEREST                                   WITHOUT DEDUCTING                   SECURED
                   OF                                    IN PROPERTY                                  ANY SECURED CLAIM                    CLAIM
               PROPERTY                                                                                  OR EXEMPTION



Condomiminum                                      Fee Simple                                          $20,000.00                  $108,966.00
8508 West 45th Place, 1B
Lyons, IL 60534




                                                                                      Total> $20,000.00

                                                                                       (Report also on Summary of Schedules)
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B6B (Official Form B6) (12/07)


In re Imelda Villagomez , Debtor(s)                       Case No.


                                                SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an
"x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified with
the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community own
the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

   Do not list interests in e xecutory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property." If the property is
being held for a minor child, simply state the child’s initials and the name and address of child’s parent or guardian, such as “A.B., a minor child, by John Doe,
guardian”. Do not disclose the child’s name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).


                                                                                                                        H
                                                N                                                                              CURRENT MARKET VALUE
         TYPE OF                                O                                                                       W      OF DEBTOR'S INTEREST IN
        PROPERTY                                N          DESCRIPTION AND LOCATION                                     J        PROPERTY, WITHOUT
                                                E                OF PROPERTY                                            C      DEDUCTING ANY SECURED
                                                                                                                                CLAIM OR EXEMPTION

1. Cash on hand.                                       Funds in Debtor’s possession                                          $40.00

2. Checking, savings or other financial                Funds in Debtor’s bank                                                $200.00
accounts, certificates of deposit, or shares
in banks, savings and loan, thrift, building
and loan, and homestead associations, or
credit unions, brokerage houses, or
cooperatives.

3. Security deposits with public utilities,     X
telephone companies, landlords, and
others.

4. Household goods and furnishings,                    Furniture and appliances in Debtor’s residence                        $475.00
including audio, video, and computer
equipment.
5. Books; pictures and other art objects;       X
antiques; stamp, coin, record, tape,
compact disc, and other collections or
collectibles.

6. Wearing apparel.                                    Clothing                                                              $50.00
7. Furs and jewelry.                                   Chain, Bracelet, Wedding Ring                                         $400.00
8. Firearms and sports, photo-                  X
graphic, and other hobby
equipment.
9. Interests in insurance policies. Name        X
insurance company of each policy and
itemize surrender or refund value of each.


10. Annuities. Itemize and name each            X
issuer.
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                                                       Document     Page 12 of 47
B6B (Official Form 6B) (12/07) -- Cont.

In re Imelda Villagomez, Debtor Case No.

                                              SCHEDULE B - PERSONAL PROPERTY
                                                            (Continuation Sheet)

                                                                                         H
                                               N                                         W   CURRENT MARKET VALUE
       TYPE OF                                 O      DESCRIPTION AND LOCATION               OF DEBTOR'S INTEREST IN
                                                                                         J
      PROPERTY                                 N           OF PROPERTY                   C
                                                                                               PROPERTY, WITHOUT
                                               E                                             DEDUCTING ANY SECURED
                                                                                              CLAIM OR EXEMPTION

11. Interests in an education IRA as           X
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan as
defined in 26 U.S.C. § 529(b)(1). Give
particulars. (File separately the record(s)
of any such interest(s). 11U.S.C. § 521
(c); Rule 1007(b)).

12. Interests in IRA, ERISA, Keogh, or         X
other pension or profit sharing plans.
Itemize.


13. Stock and interests in incorporated        X
and unincorporated businesses. Itemize.

14. Interests in partnerships or joint         X
ventures. Itemize.

15. Government and corporate                   X
bonds and other negotiable and non-
negotiable instruments.

16. Accounts receivable.                       X
17. Alimony, maintenance, support, and         X
property settlements to which the
debtor is or may be entitled. Give
particulars.

18. Other liquidated debts owed to             X
debtor including tax refunds. Give
particulars.
19. Equitable or future interests, life
estates, and rights or powers exercis-         X
able for the benefit of the debtor other
than those listed in Schedule A - Real
Property.

20. Contingent and noncontingent               X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.

21. Other contingent and unliquidated          X
claims of every nature, including tax
refunds, counterclaims of the debtor,
and rights to setoff claims. Give
estimated value of each.

22. Patents, copyrights, and other             X
intellectual property. Give particulars.


23. Licenses, franchises, and other            X
general intangibles. Give particulars.
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B6B (Official Form B6) (12/07) --Cont.

 In re Imelda Villagomez , Debtor(s)                    Case No.


                                              SCHEDULE B -PERSONAL PROPERTY
                                                                  (Continuation Sheet)


                                                                                                                       CURRENT MARKET VALUE
                                               N                                                                 H     OF DEBTOR'S INTEREST IN
          TYPE OF                              O        DESCRIPTION AND LOCATION                                 W       PROPERTY, WITHOUT
         PROPERTY                              N                                                                 J     DEDUCTING ANY SECURED
                                               E              OF PROPERTY                                        C      CLAIM OR EXEMPTION


  24. Customer lists of other compilations     X
  containing personally identifiable
  information (as defined in 11 U.S.C. §
  101(41A)) provided to the debtor by
  individuals in connection with obtaining
  a product or service from the debtor
  primarily for personal, family, or
  household purposes.
  25. Automobiles, trucks, trailers, and              2001 Jeep Grand Cherokee (145,000 miles)                        $3,250.00
  other vehicles and accessories.                     $1,400.00
                                                      1998 Jeep Grand Cherokee (140,000 miles)
                                                      $1,850.00
  26. Boats, motors, and accessories.          X

  27. Aircraft and accessories.                X
  28. Office equipment, furnishings, and       X
  supplies.

  29. Machinery, fixtures, equipment,          X
  and supplies used in business.

  30. Inventory.                               X
  31. Animals.                                 X
  32. Crops - growing or harvested. Give       X
  particulars.

  33. Farming equipment and implements.        X

  34. Farm supplies, chemicals, and            X
  feed.

  35. Other personal property of any kind      X
  not already listed. Itemize.




                                                     _____0_______ continuation sheets attached              Total    $4,415.00

                                                               (Include amounts from any continuation sheets attached. Report total also on Summary)
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B6C (Official Form 6C) (12/07)

In re Imelda Villagomez , Debtor(s)               Case No. ________________


                             SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
Debtor claims the exemptions to which debtor is entitled under:    [ ] Check if debtor claims a homestead exemption that exceeds $136,875.00
(Check one box)
[X] 11 U.S.C. § 522(b)(2)
[ ] 11 U.S.C. § 522(b)(3)



   DESCRIPTION OF                         SPECIFIY LAW                          VALUE OF                        CURRENT MARKET
     PROPERTY                            PROVIDING EACH                         CLAIMED                        VALUE OF PROPERTY
                                                                               EXEMPTION                       WITHOUT DEDUCTING
                                           EXEMPTION                                                               EXEMPTION

Residence                             735 ILCS 5/12-901                 $15,000.00                            $20,000.00

Personal Property                     735 ILCS 5/12-1001 (b)            $4,000.00                             $1,115.00

Wearing Apparel                       735 ILCS 5/12-1001 (a) (e)        100%                                  $50.00

Vehicle                               735 ILCS 5/12-1001 (c)            $2,400.00                             $3,250.00
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    B6D (Official Form 6D) (12/07)

    In re Imelda Villagomez , Debtor(s)                                          Case No.

                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
           State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured by property of the debtor
as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be
provided if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of
trust, and other security interests.
           List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, state the child’s initials and the name and address of the child’s parent
or guardian, such as “A.B., a minor child, by John Doe, guardian”. Do not disclose the child’s name. See 11 U.S.C. §112 and Fed.R.Bankr.P. 1007(m). If all secured
creditors will not fit on this page, use the continuation sheet provided.
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital community
may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
           If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
"Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes labeled “Total(s)” on
the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value of Collateral” also on the Summary
of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical
Summary of Certain Liabilities and Related Data.

           [ ] Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                                                                                       UNLIQUIDATED
                                                                                                                                                      AMOUNT OF
                                                       Joint, or Community




                                                                               DATE CLAIM WAS



                                                                                                          CONTINGENT
                                            CODEBTOR




                                                                                                                                                        CLAIM                    UNSECURED




                                                                                                                                      DISPUTED
      CREDITOR'S NAME,                                                       INCURRED, NATURE OF
                                                       Husband, Wife,




      MAILING ADDRESS                                                             LIEN, AND                                                            WITHOUT                    PORTION,
    INCLUDING ZIP CODE,                                                        DESCRIPTION AND                                                        DEDUCTING                    IF ANY
   AND ACCOUNT NUMBER                                                         VALUE OF PROPERTY                                                        VALUE OF
     (See instructions above.)                                                 SUBJECT TO LIEN                                                       COLLATERAL

 ACCT. NO.                                                       J           Home Mortgage                                                         $108,966.00 with
 2252xxxx                                                                                                                                          $43,045.00 in
 BAC Home Loans                                                                                                                                    arrears
 4161 Piedmont Pkwy
 Greensboro, NC 27410
                                                                             VALUE $20,000.00
 ACCT. NO.                                                       J           Foreclosure Attorneys                                                 Notice Only
 2012 CH 30489
 Bank of America NA
 c/o Johnson Blumberg
 230 W. Monroe #1125
 Chicago, IL 60606                                                           VALUE $
 ACCT. NO.                                             J                     Association Dues                                                      $22,000.00

 Dolejs Realty & Prop Mgm
 7847 Ogden Avenue
 Lyons, IL 60534
                                                                             VALUE $20,000.00


    _0_ continuation sheets attached                                                                          Subtotal                            $130,966.00                $
                                                                                                    (Total of this page)

                                                                                                                Total                             $130,966.00                $
                                                                                                (Use only on last page)
                                                                                                                                                 (Report also on Summary   (If applicable, report also
                                                                                                                                                 of Schedules.)            on Statistical Summary
                                                                                                                                                                           of Certain Liabilities and
                                                                                                                                                                           Related Data.)
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B6D (Official Form 6D) (12/07) – Cont.

In re Imelda Villagomez , Debtor(s)                                       Case No.

                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                     (Continuation Sheet)




                                                                                                                   UNLIQUIDATED
                                                                                                                                                   AMOUNT OF



                                                    Joint, or Community
                                                                            DATE CLAIM WAS




                                                                                                      CONTINGENT
                                         CODEBTOR
                                                                                                                                                     CLAIM                   UNSECURED




                                                                                                                                  DISPUTED
      CREDITOR'S NAME,                                                    INCURRED, NATURE OF


                                                    Husband, Wife,
      MAILING ADDRESS                                                          LIEN, AND                                                            WITHOUT                   PORTION,
  INCLUDING ZIP CODE, AND                                                   DESCRIPTION AND                                                        DEDUCTING                   IF ANY
      ACCOUNT NUMBER                                                       VALUE OF PROPERTY                                                        VALUE OF
     (See instructions above.)                                              SUBJECT TO LIEN                                                       COLLATERAL

 ACCOUNT NO.                                                                                                                                   Notice Only
 102760001xxxx
 Rushmore Loan Mgmt
 15480 Laguna Canyon Rd
 Irvine, CA 92618
                                                                          VALUE $
 ACCOUNT NO.




                                                                          VALUE $
 ACCOUNT NO.




                                                                          VALUE $
 ACCOUNT NO.




                                                                          VALUE $
 ACCOUNT NO.




                                                                          VALUE $

 Sheet no. _1_of_1_continuation sheets Attached to                                                         Subtotal                           $                          $
 Schedule of Creditors Holding Secured Claims                                                    (Total of this page)

                                                                                                            Total                             $                          $
                                                                                             (Use only on last page)
                                                                                                                                             (Report also on Summary (If applicable, report also
                                                                                                                                             of Schedules.)          on Statistical Summary
                                                                                                                                                                     of Certain Liabilities and
                                                                                                                                                                     Related Data.)
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B6E (Official Form 6E) (12/07)

In re Imelda Villagomez , Debtor(s)                         Case No.


           SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

    A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

   The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child’s initials and the name and address of the child’s parent or guardian, such as
“A.B., a minor child, by John Doe, guardian”. Do not disclose the child’s name. See II U.S.C. § 112 and Fed.R.Bankr. P. 1007(m).
    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity
on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife, both of them,
or the marital community may be liable on each claim by placing an "H", "W", "J" or "C" in the column labeled "Husband, Wife, Joint, or
Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of
these three columns.)

   Report the total of claims listed on each sheet in the box labeled "Subtotal" on each sheet. Report the total of all claims listed on this
Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

   Report the total of amounts entitled to priority listed on each sheet in the box labeled “Subtotal” on each sheet. Report the total of all
amounts entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

   Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual
debtors with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

[X] Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
[ ] Domestic Support Obligations

  Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11
U.S.C. § 507(a)(1).
[ ] Extensions of credit in an involuntary case

 Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

[ ] Wages, salaries, and commissions

  Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

[ ] Contributions to employee benefit plans

  Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
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B6E (Official Form 6E) (12/07) – Cont.



In re Imelda Villagomez , Debtor(s)              Case No.


[ ] Certain farmers and fishermen

  Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

[ ] Deposits by individuals

  Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
  that were not delivered or provided. 11 U.S.C. § 507(a)(7).

[ ] Taxes and Certain Other Debts Owed to Governmental Units

 Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

[ ] Commitments to Maintain the Capital of an Insured Depository Institution

  Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).

[ ] Claims for Death or Personal Injury While Debtor was Intoxicated

    Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol,
a drug, or another substance. 11 U.S.C. § 507 (a)(10).




* Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.




                                                              ____0_____ continuation sheets attached
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B6F (Official Form 6F) (12/07)

      In re Imelda Villagomez , Debtor(s) Case No.


            SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
     State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the debtor
or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee
and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child’s initials and the name and address of the child’s parent or
guardian, such as “A.B., a minor child, by John Doe, guardian”. Do not disclose the child’s name. See 11 U.S.C § 112 and Fed. R. Bankr. P. 1007(m). Do not include
claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

   If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital community
may be liable on each claim by placing an "H", "W", "J" or "C" in the column labeled "Husband, Wife, Joint, or Community."

     If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim
is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns).

   Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.

[ ] Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                      Husband, Wife, Joint,




                                                                                          DATE CLAIM WAS




                                                                                                                                        UNLIQUIDATED
                                                                                                                           CONTINGENT
      CREDITOR'S NAME,                                                                     INCURRED AND                                                                     AMOUNT
                                           CODEBTOR

                                                                        or Community




                                                                                                                                                                               OF




                                                                                                                                                       DISPUTED
      MAILING ADDRESS                                                                   CONSIDERATION FOR
    INCLUDING ZIP CODE,                                                                  CLAIM. IF CLAIM IS                                                                  CLAIM
   AND ACCOUNT NUMBER                                                                  SUBJECT TO SETOFF, SO
     (See instructions above.)                                                                STATE.


 ACCOUNT NO.                                                                                                                                                      $868.00
 600889249217xxxx
 GECRB/JC Penney
 PO Box 965007
 Orlando, FL 32896-5007


 ACCOUNT NO.                                                                                                                                                      $171.00
 504662120318xxxx
 GECRB/Ultra Diamond
 PO Box 965036
 Orlando, FL 32896-5036


 ACCOUNT NO.                                                                                                                                                      $2,121.00
 549110000657xxxx
 HSBC Bank
 PO Box 9
 Buffalo, NY 14240



 _2_ continuation sheets attached                                                                                                        Subtotal                 $3,160.00
                                                                                                                                (Total of this page)

                                                                                                                                                Total             $
                                                                                             (Use only on last page of the completed Schedule F.)
                                                                                (Report also on Summary of Schedules and, if applicable, on the
                                                                                 Statistical Summary of Certain Liabilities and Related Data.)
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B6F (Official Form 6F) (12/07) – Cont.

In re Imelda Villagomez, Debtor(s)                                                   Case No.


      SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                    (Continuation Sheet)




                                                    Husband, Wife, Joint,
                                                                                         DATE CLAIM WAS




                                                                                                                                      UNLIQUIDATED
                                                                                                                         CONTINGENT
      CREDITOR'S NAME,                                                                    INCURRED AND                                                                    AMOUNT
                                         CODEBTOR

                                                                      or Community
                                                                                                                                                                             OF




                                                                                                                                                     DISPUTED
      MAILING ADDRESS                                                                  CONSIDERATION FOR
    INCLUDING ZIP CODE,                                                                 CLAIM. IF CLAIM IS                                                                 CLAIM
   AND ACCOUNT NUMBER                                                                 SUBJECT TO SETOFF, SO
     (See instructions above.)                                                               STATE.


 ACCOUNT NO.                                                                                                                                                    $741.00
 639305044820xxxx
 Kohls Dept Store
 PO Box 3115
 Milwaukee, WI 53201


 ACCOUNT NO.                                                                         Student Loan                                                               $2,586.00
 502935043407xxxx
 Sallie Mae
 PO Box 9655
 Wilkes Barre, PA 18773-
 9655
 ACCOUNT NO.                                                                                                                                                    $128.00
 1180xxxx
 Dentistry
 c/o Choice Recovery Inc
 PO Box 20790
 Columbus, OH 43220

 ACCOUNT NO.                                                                                                                                                    $1,129.00
 855073xxxx
 GE Money Bank
 c/o Midland Funding LLC
 8875 Aero Dr, #200
 San Diego, CA 92123

 ACCOUNT NO.                                                                                                                                                    $2,569.00
 549110000657xxxx
 HSBC Bank NV NA
 c/o Portfolio Recovery
 120 Corporate Blvd
 Norfolk, VA 23502


                                                                                                                                                                $7,153.00
 Sheet no._1_of_2 _continuation sheets
 attached to Schedule of Creditors Holding
                                                                                                                                       Subtotal
 Unsecured Nonpriority Claims.                                                                                                (Total of this page)

                                                                                                                                              Total             $
                                                                                           (Use only on last page of the completed Schedule F.)
                                                                              (Report also on Summary of Schedules and, if applicable, on the
                                                                               Statistical Summary of Certain Liabilities and Related Data.)
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B6F (Official Form 6F) (12/07) – Cont.

In re Imelda Villagomez, Debtor(s)                                                   Case No.


      SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                    (Continuation Sheet)




                                                    Husband, Wife, Joint,
                                                                                          DATE CLAIM WAS




                                                                                                                                      UNLIQUIDATED
                                                                                                                         CONTINGENT
      CREDITOR'S NAME,                                                                     INCURRED AND                                                                   AMOUNT
                                         CODEBTOR

                                                                      or Community
                                                                                                                                                                             OF




                                                                                                                                                     DISPUTED
      MAILING ADDRESS                                                                   CONSIDERATION FOR
    INCLUDING ZIP CODE,                                                                  CLAIM. IF CLAIM IS                                                                CLAIM
   AND ACCOUNT NUMBER                                                                  SUBJECT TO SETOFF, SO
     (See instructions above.)                                                                STATE.


 ACCOUNT NO.                                                                                                                                                    $54.00
 4253xxxx
 T-Mobile USA
 c/o Receivables Perform
 20816 44th Ave West
 Lynwood, WA 98036

 ACCOUNT NO.                                                                                                                                                    $631.00
 3903xxxx
 T-Mobile USA
 c/o Receivables Perform
 20816 44th Ave West
 Lynwood, WA 98036

 ACCOUNT NO.                                                                                                                                                    $2,568.81
 2012 M1 107255
 Portfolio Recovery
 c/o Freedman Anselmo et al
 1807 W. Diehl, POB 3107
 Naperville, IL 60566

 ACCOUNT NO.




 ACCOUNT NO.




                                                                                                                                                                $3,253.81
 Sheet no._2_of _2 _ continuation sheets
 attached to Schedule of Creditors Holding
                                                                                                                                       Subtotal
 Unsecured Nonpriority Claims.                                                                                                (Total of this page)

                                                                                                                                              Total             $13,566.81
                                                                                           (Use only on last page of the completed Schedule F.)
                                                                              (Report also on Summary of Schedules and, if applicable, on the
                                                                               Statistical Summary of Certain Liabilities and Related Data.)
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B6G (Official Form 6G) (12/07)



       In re Imelda Villagomez , Debtor(s)                   Case No.


             SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

      Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
      State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
     Provide the names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one
     of the leases or contracts, state the child’s initials and the name and address of the child’s parent or guardian, such as “A.B., a minor child, by
     John Doe, guardian”. Do not disclose the child’s name. See, 11 U.S.C. §112 and Fed. R. Bank. P. 1007(m).

 [X] Check this box if debtor has no executory contracts or unexpired leases.




                                                                                  DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
      NAME AND MAILING ADDRESS, INCLUDING ZIP                                      DEBTOR’S INTEREST. STATE WHETHER LEASE IS FOR
        CODE, OF OTHER PARTIES TO LEASE OR                                        NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                    CONTRACT.                                                          NUMBER OF ANY GOVERNMENT CONTRACT.
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B6H (Official Form 6H) (12/07)

    In re Imelda Villagomez , Debtor(s)           Case No.


                                                 SCHEDULE H - CODEBTORS
    Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
by the debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property
state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
Washington, or Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the
debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealth, or
territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a
minor child is a co-debtor or creditor, state the child’s initials and the name and address of the child’s parent or guardian, such as “A.B., a
minor child, by John Doe, guardian”. Do not disclose the child’s name. See, 11 U.S.C. §112 and Fed. Bankr. P. 1007(m).

   [ ] Check this box if debtor has no codebtors.



     NAME AND ADDRESS OF CODEBTOR                                              NAME AND ADDRESS OF CREDITOR


     Salvador Villagomez                                                BAC Home Loans Serv LP
     (deceased)                                                         4161 Piedmont Pkwy
                                                                        Greensboro, NC 27410

     Salvador Villagomez                                                Rushmore Loan Management
     (deceased)                                                         154780 Laguna Canyon Road
                                                                        Irvine, CA 92618

     Salvador Villagomez                                                Bank of America NA
     (deceased)                                                         c/o Johnson Blumberg
                                                                        230 W. Monroe #1125
                                                                        Chicago, IL 60606

     Salvador Villagomez                                                Dolejs Realty & Prop Mgm
     (deceased)                                                         7847 Ogden Avenue
                                                                        Lyons, IL 60534
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B6I (Official Form 6I) (12/13)
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Debtor 1        Imelda Villagomez                                                      Check if this is:
Debtor 2                                                                                                    An amended filing
United States Bankruptcy Court for the Northern District of Illinois                                        A supplement showing
Case No.                                                                                                    post-petition Chapter 13
                (if known)                                                                                  income as of the following date:

                                                                                                            mm/dd/yyyy
                                               SCHEDULE I - YOUR INCOME
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach
a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

PART 1: Describe Employment
1. Fill in employment information.              Debtor 1                Debtor                             2 or non-filing spouse
If you have more than one job, attach           Employment          X            Employed                              Employed
separate page with information about            Status                           Not employed                          Not employed
additional employers.

Include part-time, seasonal, or self-
employed work.
                   Occupation:                  MMA
Occupation may include student
or homemaker, if it applies.
                   Employer’s Name:             Access Community Health Network

                     Employer’s Address:        7450 W. 63rd St.

             Summit,                                      IL 60501



                     How long employed there? 1 Year

PART 2: Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include
your non-filing spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the
lines below. If you need more space, attaché a separate sheet to this form.
                                                                                                For Debtor 2 or
                                                                               For Debtor 1     non-filing spouse
  2. List monthly gross wages, salary and commissions (before all payroll
deductions). If not paid monthly, calculate what the monthly wage would be. $2,291.47           $0
  3. Estimate and list monthly overtime pay.                                   $0               $0
  4. Calculate gross income. Add lines 2 and 3.                                $2,291.47        $0
  5. List all payroll deductions:
          5a.     Tax, Medicare, and Social Security Deductions                $452.36          $0
          5b.     Mandatory contributions for retirement plans                 $0               $0
          5c.     Voluntary contributions for retirement plans                 $0               $0
          5d.     Required repayments of retirement fund loans                 $0               $0
          5e.     Insurance                                                    $15.45           $0
          5f.     Domestic support obligations                   $0                             $0
          5g.     Union dues                                                   $0               $0
          5h.     Other deductions.
                            Specify:                                           $0               $0
  6. Add the payroll deductions. Add lines 5a to 5h.                           $467.81          $0

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                 $1,823.66           $
Form B 6I                                                 Schedule I - Your Income                                             page 1
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Debtor 1         Imelda Villagomez             Document     Page 25 of 47
Debtor 2                                                     Case No.
                                                                               (if known)

                                          SCHEDULE I - YOUR INCOME
                                                 (continued)
                                                                                                For Debtor 2 or
                                                                               For Debtor 1     non-filing spouse
 8. List all other income regularly received:
   8a. Net income from rental property and from operating a
         Business, profession, or farm
         Attach a statement for each property and business showing
         gross receipts, ordinary and necessary business expenses,
         and the total monthly net income.                                      $0                 $0
   8b. Interest and dividends                                                   $0                 $0
   8c. Family support payments that you, a non-filing spouse, or
         A dependent regularly receive
         Include alimony, spousal support, child support, maintenance,
         divorce settlement, and property settlement.                           $0                 $0
   8d. Unemployment compensation                        $0                                         $0
   8e. Social Security                  $0                                                        $0
   8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash
         assistance that you receive, such as food stamps (benefits under
         the Supplemental Nutrition Assistance Program) or housing
         subsidies. Specify:                                                    $0                 $0
   8g. Pension or retirement income                     $0                                         $0
   8h. Other monthly income. Specify:                                           $0                $0
 9. Add all other income. Add lines 8a to 8h.                                   $0                $0
10. Calculate monthly income. Add lines 7 and 9.
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.      $1,823.66         $0            = $1,823.66
11. State all other regular contributions to the expenses that you list in in Schedule J.
Include all contributions from an unmarried partner, members of your household, your dependents, your roommates,
andother friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in
Schedule J. Specify:                                                                                                  $0
12. Add the amount in the last column of line 10 to the amount in line 11. This result is the combined
monthly income. Write the amount of the Summary of Schedules and Statistical Summary of Certain Liabilities
and Related Data, if it applies.                                                                                      $1,823.66
                                                                                                                     Combined
                                                                                                                     monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        X        No
                 Yes. Explain:




Form B 6I                                           Schedule I - Your Income                                      page 2
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B6J (Official Form 6J) (12/13)
                                                    Document     Page 26 of 47

Debtor 1        Imelda Villagomez                                                       Check if this is:
Debtor 2                                                                                                    An amended filing
United States Bankruptcy Court for the Northern District of Illinois                                        A supplement showing
Case No.                                                                                                    post-petition Chapter 13
                (if known)                                                                                  expenses as of the following date:

                                                                                                            mm/dd/yyyy
                                                                                                            A separate filing for Debtor 2
                                                                                                            because Debtor 2 maintains a
                                                                                                            separate household.
                                               SCHEDULE J - YOUR EXPENSES
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional page, write your name and case
number (if known). Answer every question.
PART 1: Describe Your Household
1. Is this a joint case?
         X          No. Go to line 2.
                    Yes. Does Debtor 2 live in a separate household?
                                       No
                                       Yes. Debtor 2 must file a separate Schedule J.
2. Do you have dependents?                     No                                   Dependent’s relationship Dependent’s Does Dependent
   Do not list Debtor 1 and           X        Yes. Fill out this information for to Debtor 1 or Debtor 2        Age      live with you?
   Debtor 2.                                         each dependent……………
   Do not state the dependents’ names.                                              Daughter                   13         Yes
                                                                                    Son                        4          Yes



3. Do your expenses include expenses of people other than
   yourself and your dependents? X         No
                                           Yes

PART 2: Give Details About Monthly Income
Estimate your expenses as of your bankruptcy filing date, unless you are using this form as a supplement in a Chapter 13 case to
report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form
and
fill in the applicable date.

Include expenses paid for with non-cash government assistance if you know the value
of such assistance and have included it on your Schedule I: Your Income (Official Form B 6I.)                        Your Expenses

4. The rental or home ownership expenses for your residence.
   Include first mortgage payments and any rent for the ground or lot.                                      4.       $800.00
        If not included in line 4:
        4a.       Real estate taxes                                                                         4a.      $0
        4b.       Property, homeowner’s, or renter’s insurance                                              4b.      $0
        4c.       Home maintenance, repair, and upkeep expenses                                             4c.      $20.00
        4d.       Homeowner’s association or condominium dues                                               4d.      $0

5. Additional mortgage payments for your residence, such as home equity loans                               5.       $0

6. Utilities:
         6a.        Electricity, heat, natural gas                                                          6a.      $0
         6b.        Water, sewer, garbage collection                                                        6b.      $0
         6c.        Telephone, cell phone, internet, satellite, and cable services                          6c.      $90.00
         6d.        Other. Specify:                                                                         6d.      $0

Form B 6J                                                  Schedule J - Your Expenses                                          page 1
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Debtor 1          Imelda Villagomez
Debtor 2                                                        Case No.
                                                                                    (if known)
                                           SCHEDULE J - YOUR EXPENSES
                                                   (continued)
                                                                                                        Your Expenses

7. Food and housekeeping supplies                                                                7.     $680.00

8. Childcare and children’s education costs                                                      8.     $0

9. Clothing, laundry, and dry cleaning                                                           9.     $160.00

10. Personal care products and services                                                          10.    $0

11. Medical and dental expenses                                                                  11.    $20.00

12. Transportation. Include gas, maintenance, bus or train fare. Do not include car payments.    12.    $400.00

13. Entertainment, clubs, recreation, newspapers, magazines, and books.                          13.    $0

14. Charitable contributions and religious donations                                             14.    $0

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.
        15a.      Life Insurance                                                                 15a.   $0
        15b.      Health Insurance                                                               15b.   $0
        15c.      Vehicle Insurance                                                              15c.   $80.00
        15d.      Other Insurance. Specify:                                                      15d.   $0

16. Taxes. Do not include taxes deducted from your pay or included in 4 or 20.
    Specify:                                                                                     16.    $0

17. Installment or lease payments:
         17a.    Car payments for Vehicle 1                                                      17a.   $0
         17b.    Car payments for Vehicle 2                                                      17b.   $0
         17c.    Other. Specify:                                                                 17c.   $0
         17d.    Other. Specify:                                                                 17d.   $0

18. Your payments of alimony, maintenance, and support that you did not report as deducted
    from your pay on Line 5, Schedule I: Your Income (Official Form B 6I).                       18.    $0

19. Other payments you make to support others who do not live with you.
    Specify:                                                                                     19.    $0

20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
        20a.     Mortgages on other property                                                     20a.   $0
        20b.     Real estate taxes                                                               20b.   $0
        20c.     Property, homeowner’s, or renter’s insurance                                    20c.   $0
        20d.     Maintenance, repair, and upkeep expenses                                        20d.   $0
        20e.     Homeowner’s association or condominium dues                                     20e.   $0

21. Other. Specify:                                                                              21.    $0

22. Your monthly expenses. Add lines 4 to 21. The result is your monthly expenses.               22.    $2,250.00

Form B 6J                                              Schedule J - Your Expenses                                 page 2
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Debtor 1          Imelda Villagomez              Document     Page 28 of 47
Debtor 2                                                        Case No.
                                                                                    (if known)

                                          SCHEDULE J - YOUR EXPENSES
                                                  (continued)

23. Calculate your monthly net income.
        23a.     Copy line 12 (your combined monthly income) from Schedule I.                        23a.     $1,823.66
        23b.     Copy our monthly expenses from line 22 above                                        23b.     $2,250.00
        23c.     Subtract your monthly expenses from your monthly income.
                 The result is your monthly net income.                                              23c.     $(426.34)

24. Do you expect an increase or decrease in your expenses within the year after you
    file this form?
    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or
    decrease because of a modification to the terms of your mortgage?      X          No               Yes

         Explain here:




Form B 6J                                              Schedule J - Your Expenses                                      page 3
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B6 (Official Form 6 – Declaration) (12/07)

      In re Imelda Villagomez , Debtor(s)                          Case No.


                                          DECLARATION CONCERNING DEBTOR’S SCHEDULES
                                   DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of 20 sheets, and that they are true and correct to the best
    of my knowledge, information, and belief.


Date                       5/17/2014                                             Signature:                 /s/ Imelda Villagomez
                                                                                                            DEBTOR


Date                                                                             Signature:
                                                                                                            JOINT DEBTOR, if any
                                                                                               [If joint case, both spouses must sign.]
-----------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------

                     DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

  I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have
provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h) and 342(b); and, (3) if rules or guidelines
have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by bankruptcy petition preparers, I have given the debtor notice of
the maximum amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required by that section.



Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                                                           Social Security No.
                                                                                                                                              (Required by 11 U.S.C. § 110)

If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or
partner who signs this document.




Address

X
    Signature of Bankruptcy Petition Preparer                                                                                          Date

Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an
individual:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
both. 11 U.S.C. § 110; 18 U.S.C. § 156.
-----------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------

                            DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP

  I, the                                                [the president or other officer or an authorized agent of the corporation or a member or an authorized agent of
the partnership] of the                                             [corporation or partnership] named as debtor in this case, declare under penalty of perjury that I
have read the foregoing summary and schedules, consisting of                                           sheets (total shown on summary page plus 1.), and that they are
true and correct to the best of my knowledge, information, and belief.

Date                                                                                          Signature:


                                                                                                            [Print or type name of individual signing on behalf of debtor.]

                                 [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
-----------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
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B7 (Official Form 7) (4/10)


                                        UNITED STATES BANKRUPTCY COURT
                                             NORTHERN DISTRICT OF ILLINOIS
      In re: Imelda Villagomez                               , Debtors

                                                  STATEMENT OF FINANCIAL AFFAIRS
         This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional,
should provide the information requested on this statement concerning all such activities as well as the individual’s personal
affairs. To indicate payments, transfers and the like to minor children, state the child’s initials and the name and address of the
child’s parent or guardian, such as “A.B., a minor child, by John Doe, guardian”. Do not disclose the child’s name. See, 11
U.S.C. § 112, Fed. R. Bankr. P. 1007(m).

         Question 1 – 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
must complete Questions 19 – 25. If the answer to an applicable question is “None,” mark the box labeled “None.” If
additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case
name, case number (if known), and the number of the question.

                                                                   DEFINITIONS
          “In business.” A debtor is “in business” for the purpose of this form if the debtor is a corporation or partnership. An
individual debtor is “in business” for the purpose of this form if the debtor is or has been, within the six years immediately
preceding the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5
percent or more of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a
sole proprietor or self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this
form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor’s primary employment.

          “Insider.” The term “insider” includes but is not limited to: relatives of the debtor; general partners of the debtor and
their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of
5 percent or more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders
of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.


                              1. Income from employment or operation of business

[ ] None                      State the gross amount of income the debtor has received from employment, trade, or profession, or from
                              operation of the debtor’s business, including part-time activities either as an employee or in independent trade
                              or business, from the beginning of this calendar year to the date this case was commenced. State also the
                              gross amounts received during the two years immediately preceding this calendar year. (A debtor that
                              maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report
                              fiscal year income. Identify the beginning and ending dates of the debtor’s fiscal year.) If a joint petition is
                              filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must
                              state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                              joint petition is not filed.)

                              AMOUNT                                                          SOURCE (if more than one)

                              2014 - $10,576.00                     wo                           rk
                              2013 - $23,358.00                     wo                           rk
                              2012 - $0.00                  wo                                   rk
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                                                                                                                                2



              2. Income other than from employment or operation of business

[ ] None      State the amount of income received by the debtor other than from employment, trade, profession, or
              operation of the debtor’s business during the two years immediately preceding the commencement of this
              case. Give particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors
              filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is
              filed, unless the spouses are separated and a joint petition is not filed.)

              AMOUNT                                                            SOURCE
       2012   $15,960.00                                                        Unemployment Compensation

____________________________________________________________________________________________________

              3. Payments to creditors

              Complete a. or b., as appropriate, and c.

[X] None      a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment
              purchases of goods or services, and other debts to any creditor, made within 90 days immediately preceding
              the commencement of this case if the aggregate value of all property that constitutes or is affected by such
              transfer is not less that $600. Indicate with an asterisk (*) any payments that were made to a creditor on
              account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an
              approved nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or
              chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless the
              spouses are separated and a joint petition is not filed.)

       NAME AND ADDRESS                            DATES OF                     AMOUNT                      AMOUNT
          OF CREDITOR                              PAYMENTS                     PAID                        STILL OWING




[X] None      b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor
              made within 90 days immediately preceding the commencement of the case if the aggregate value of all
              property that constitutes or is affected by such transfer is not less than $5,475. If the debtor is an individual,
              indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
              obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting
              and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments
              and other transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are
              separated and a joint petition is not filed.)

       NAME AND ADDRESS                            DATES OF                    AMOUNT                       AMOUNT
          OF CREDITOR                              PAYMENTS/                   PAID OR                      STILL OWING
                                                   TRANSFERS                   VALUE OF
                                                                               TRANSFERS
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[X] None       c. All debtors: List all payments made within one year immediately preceding the commencement of this
               case to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or
               chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR                        DATE OF                     AMOUNT                      AMOUNT
AND RELATIONSHIP TO DEBTOR                          PAYMENT                     PAID                        STILL OWING




               4. Suits and administrative proceedings, executions, garnishments and attachments
[ ] None       a. List all suits and administrative proceedings to which the debtor is or was a party within one year
               immediately preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter
               13 must include information concerning either or both spouses whether or not a joint petition is filed, unless
               the spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT                                            COURT OR AGENCY                               STATUS OR
AND CASE NUMBER                  NATURE OF PROCEEDING      AND LOCATION                                  DISPOSITION
Bank of America                  Foreclosure       Circuit        Court                            Pending
Vs                                                         of Cook County, IL
Salvador Villagomez;
Imelda Villagomez
2012 CH 30489



[X] None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process
               within one year immediately preceding the commencement of this case. (Married debtors filing under
               chapter 12 or chapter 13 must include information concerning property of either or both spouses whether or
               not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS                                                                         DESCRIPTIOIN
OF PERSON FOR WHOSE                                 DATE OF                              AND VALUE OF
BENEFIT PROPERTY WAS SEIZED                         SEIZURE                              PROPERTY




               5. Repossessions, foreclosures and returns

[X] None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed
               in lieu of foreclosure or returned to the seller, within one year immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
               a joint petition is not filed.)

                                          DATE OF REPOSSESSION,                          DESCRIPTION
NAME AND ADDRESS                          FORECLOSURE SALE,                              AND VALUE OF
OF CREDITOR OR SELLER                     TRANSFER OR RETURN                             PROPERTY
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            6.   Assignments and receiverships

[X] None    a. Describe any assignment of property for the benefit of creditors made within 120 days immediately
            preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
            include any assignment by either or both spouses whether or not a joint petition is filed, unless the spouses
            are separated and a joint petition is not filed.)

                                                                                     TERMS OF
NAME AND ADDRESS                                DATE OF                              ASSIGNMENT
OF ASSIGNEE                                     ASSIGNMENT                           OR SETTLEMENT




[X] None    b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within
            one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
            chapter 13 must include information concerning property of either or both spouses whether or not a joint
            petition is filed, unless the spouses are separated and a joint petition is not filed.)

                              NAME AND LOCATION                                               DESCRIPTION
NAME AND ADDRESS              OF COURT                             DATE OF                    AND VALUE OF
OF CUSTODIAN                  CASE TITLE & NUMBER                  ORDER                      PROPERTY




            7. Gifts

[X] None    List all gifts or charitable contributions made within one year immediately preceding the commencement of
            this case except ordinary and usual gifts to family members aggregating less than $200 in value per
            individual family member and charitable contributions aggregating less than $100 per recipient. (Married
            debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses
            whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS              RELATIONSHIP                                                    DESCRIPTION
OF PERSON                     TO DEBTOR,                           DATE                       AND VALUE
OR ORGANIZATION               IF ANY                               OF GIFT                    OF GIFT




            8. Losses

[X] None    List all losses from fire, theft, other casualty or gambling within one year immediately preceding the
            commencement of this case or since the commencement of this case:. (Married debtors filing under chapter
            12 or chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless
            the spouses are separated and a joint petition is not filed.)

DESCRIPTION            DESCRIPTION OF CIRCUMSTANCES AND, IF
AND VALUE OF           LOSS WAS COVERED IN WHOLE OR IN PART                                   DATE OF
PROPERTY               BY INSURANCE, GIVE PARTICULARS                                         LOSS
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                 9. Payments related to debt counseling or bankruptcy

[ ] None         List all payments made or property transferred by or on behalf of the debtor to any persons, including
                 attorneys, for consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a
                 petition in bankruptcy within one year immediately preceding the commencement of this case.

                                            DATE OF PAYMENT,                    AMOUNT OF MONEY OR
NAME AND ADDRESS                            NAME OF PAYER IF                    DESCRIPTION AND VALUE
OF PAYEE                                    OTHER THAN DEBTOR                   OF PROPERTY

Law Offices of Martin J. O’Hearn            4/2/2011                            $900.00
10047 South Western              3           /3/2014           $                 200.00
Chicago, IL 60643



                 10. Other transfers

[X] None    a. List all property, other than property transferred in the ordinary course of the business or financial affairs
            of the debtor, transferred either absolutely or as security within two years immediately preceding the
            commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by
            either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
            petition is not filed.)
                                                                                        DESCRIBE PROPERTY
NAME AND ADDRESS OF TRANSFEREE,                                                         TRANSFERRED
RELATIONSHIP TO DEBTOR                                      DATE                        AND VALUE RECEIVED




[X] None         b. List all property transferred by the debtor within ten years immediately preceding the commencement of
                 this case to a self-settled trust or similar device of which the debtor is a beneficiary.

NAME OF TRUST OR OTHER                      DATE(S) OF                 AMOUNT OF MONEY OR DESCRIPTION
DEVICE                                      TRANSFER(S)                AND VALUE OF PROPERTY OR DEBTOR’S
                                                                       INTEREST IN PROPERTY




                 11. Closed financial accounts

[X] None         List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor
                 which were closed, sold, or otherwise transferred within one year immediately preceding the commencement
                 of this case. Include checking, savings, or other financial accounts, certificates of deposit, or other
                 instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
                 brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13
                 must include information concerning accounts or instruments held by or for either or both spouses whether or
                 not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                            TYPE OF ACCOUNT, LAST FOUR                            AMOUNT AND
NAME AND ADDRESS                            DIGITS OF ACCOUNT NUMBER,                             DATE OF SALE
OF INSTITUTION                              AND AMOUNT OF FINAL BALANCE                           OR CLOSING
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            12. Safe deposit boxes

[X] None    List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other
            valuables within one year immediately preceding the commencement of this case. (Married debtors filing
            under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a
            joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS              NAMES AND ADDRESSES                  DESCRIPTION                DATE OF TRANSFER
OF BANK OR                    OF THOSE WITH ACCESS                 OF                         OR SURRENDER,
OTHER DEPOSITORY              TO BOX OR DEPOSITORY                 CONTENTS                   IF ANY




            13. Setoffs

[X] None    List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days
            preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
            include information concerning either or both spouses whether or not a joint petition is filed, unless the
            spouses are separated and a joint petition is not filed.)

                                                                   DATE OF                    AMOUNT OF
NAME AND ADDRESS OF CREDITOR                                       SETOFF                     SETOFF




            14. Property held for another person

[X] None    List all property owned by another person that the debtor holds or controls.

NAME AND ADDRESS                       DESCRIPTION AND VALUE
OF OWNER                               OF PROPERTY                                   LOCATION OF PROPERTY




            15. Prior address of debtor

[X] None    If debtor has moved within three years immediately preceding the commencement of this case, list all
            premises which the debtor occupied during that period and vacated prior to the commencement of this case.
            If a joint petition is filed, report also any separate address of either spouse.

            ADDRESS                             NAME USED                            DATES OF OCCUPANCY
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              16. Spouses and Former Spouses

[X] None      If the debtor resides or resided in a community property state, commonwealth, or territory, (including Alaska,
              Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin)
              within eight years immediately preceding the commencement of the case, identify the name of the debtor’s
              spouse and of any former spouse who resides or resided with the debtor in the community property state.

              NAME




              17. Environmental Information

              For the purpose of this question, the following definitions apply:

              “Environmental Law” means any federal, state, or local statute or regulation regulating pollution,
              contamination, releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface
              water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating the
              cleanup of these substances, wastes, or material.

              “Site” means any location, facility, or property as defined under any Environmental law, whether or not
              presently or formerly owned or operated by the debtor, including, but not limited to, disposal sites.

              “Hazardous Material” means anything defined as a hazardous waster, hazardous substance, toxic substance,
              hazardous material, pollutant, or contaminant or similar term under an Environmental Law.


[X] None      a. List the name and address of every site for which the debtor has received notice in writing by a
              governmental unit that may be liable or potentially liable under or in violation of an Environmental Law.
              Indicate the governmental unit, the date of the notice, and, if known, the Environmental Law.

SITE NAME              NAME AND ADDRESS                              DATE OF                     ENVIRONMENTAL
AND ADDRESS            OF GOVERNMENTAL UNIT                          NOTICE                      LAW




[X] None      b. List the name and address of every site for which the debtor provided notice to a governmental unit of a
              release of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of
              the notice.

SITE NAME              NAME AND ADDRESS                              DATE OF                     ENVIRONMENTAL
AND ADDRESS            OF GOVERNMENTAL UNIT                          NOTICE                      LAW




[X] None      c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental
              law with respect to which the debtor is or was a party. Indicate the name and address of the governmental
              unit that is or was a party to the proceeding, and the docket number.

NAME AND ADDRESS                                   DOCKET NUMBER                                 STATUS OR
OF GOVERNMENTAL UNIT                                                                             DISPOSITION
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                  18. Nature, location and name of business

[X] None          a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the
                  businesses, and beginning and ending dates of all businesses in which the debtor was an officer, director,
                  partner, or managing executive of a corporation, partner in a partnership, sole proprietor, or was self-
                  employed in a trade, profession, or other activity either full- or part-time within six years immediately
                  preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or
                  equity securities within the six years immediately preceding the commencement of this case, or in which the
                  debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding the
                  commencement of this case.

                     If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the
                  businesses, and beginning and ending dates of all businesses in which the debtor was a partner or owned 5
                  percent or more of the voting or equity securities, within the six years immediately preceding the
                  commencement of this case.

                     If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the
                  businesses, and beginning and ending dates of all businesses in which the debtor was a partner or owned 5
                  percent or more of the voting or equity securities within the six years immediately preceding the
                  commencement of this case.


                  LAST FOUR DIGITS
                  OF SOC. SEC. NO./
                  COMPLETE EIN OR                                          NATURE OF         BEGINNING AND ENDING
NAME              OTHER TAXPAYER I.D. NO.               ADDRESS            BUSINESS          DATES




[X] None          b. Identify any business listed in response to subdivision a., above, that is “single asset real estate” as defined
                  in 11 U.S.C. § 101.

                  NAME                                                     ADDRESS




          The following questions are to be completed by every debtor that is a corporation or partnership and by any individual
debtor who is or has been, within the six years immediately preceding the commencement of this case, any of the following:
an officer, director, managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership; a sole proprietor or self-employed in a trade, profession or other activity,
either full- or part-time.

         (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in
business, as defined above, within the six years immediately preceding the commencement of this case. A debtor who has not
been in business within those six years should go directly to the signature page.)
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              19. Books, records and financial statements

[X] None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this
              bankruptcy case kept or supervised the keeping of books of account and records of the debtor.

       NAME AND ADDRESS                                              DATES SERVICES RENDERED




[X] None      b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy
              case have audited the books of account and records, or prepared a financial statement of the debtor.

       NAME                              ADDRESS                              DATES SERVICES RENDERED




[X] None      c. List all firms or individuals who at the time of the commencement of this case were in possession of the
              books of account and records of the debtor. If any of the books of account and records are not available,
              explain.

              NAME                                                   ADDRESS




[X] None      d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom
              a financial statement was issued within the two years immediately preceding the commencement of this case.

              NAME AND ADDRESS                                                          DATE ISSUED




              20. Inventories

[X] None      a. List the dates of the last two inventories taken of your property, the name of the person who supervised the
              taking of each inventory, and the dollar amount and basis of each inventory.

                                                                              DOLLAR AMOUNT OF INVENTORY
DATE OF INVENTORY               INVENTORY SUPERVISOR                          (Specify cost, market or other basis)




[X] None      b. List the name and address of the person having possession of the records of each of the inventories
              reported in a., above.

                                                            NAME AND ADDRESSES OF CUSTODIAN
              DATE OF INVENTORY                                   OF INVENTORY RECORDS
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              21. Current Partners, Officers, Directors and Shareholders

[X] None      a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the
              partnership.

       NAME AND ADDRESS                   NATURE OF INTEREST                    PERCENTAGE OF INTEREST




[X] None      b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who
              directly or indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the
              corporation.

                                                                                NATURE AND PERCENTAGE
       NAME AND ADDRESS                            TITLE                         OF STOCK OWNERSHIP




              22. Former partners, officers, directors and shareholders

[X] None      a. If the debtor is a partnership, list each member who withdrew from the partnership within one year
              immediately preceding the commencement of this case.

       NAME                                         ADDRESS                               DATE OF WITHDRAWAL




[X] None      b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation
              terminated within one year immediately preceding the commencement of this case.

       NAME AND ADDRESS                                      TITLE                        DATE OF TERMINATION




              23. Withdrawals from a partnership or distributions by a corporation

[X] None      If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an
              insider, including compensation in any form, bonuses, loans, stock redemptions, options exercised and any
              other perquisite during one year immediately preceding the commencement of this case.


       NAME AND ADDRESS                                                                   AMOUNT OF MONEY
       OF RECIPIENT,                                DATE AND PURPOSE                      OR DESCRIPTION
       RELATIONSHIP TO DEBTOR                       OF WITHDRAWAL                         AND VALUE OF PROPERTY
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             24. Tax Consolidation Group

[X] None     If the debtor is a corporation, list the name and federal taxpayer identification number of the parent
             corporation of any consolidated group for tax purposes of which the debtor has been a member at any time
             within six years immediately preceding the commencement of the case.

       NAME OF PARENT CORPORATION                         TAXPAYER IDENTIFICATION NUMBER (EIN)




             25. Pension Funds

[X] None     If the debtor is not an individual, list the name and federal taxpayer identification number of any pension
             fund to which the debtor, as an employer, has been responsible for contributing at any time within six years
             immediately preceding the commencement of the case.

       NAME OF PENSION FUND                               TAXPAYER IDENTIFICATION NUMBER (EIN)




                                                     ******
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[If completed by an individual or individual and spouse]


 I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto and that they are true and correct.


Date             5/17/2014                               Signature                    /s/ Imelda Villagomez
                                                                                      Debtor

Date                                                     Signature
                                                                                      Joint Debtor (if any)

________________________________________________________________________                                                                        ______________________ _______________

[If completed by an individual or individual and spouse]

 I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto and that they are true and correct to the best of my
knowledge, information and belief.


Date                                                                    Signature


                                                                        Signature
                                                                                      Print Name and Title

[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]

                                                                                                continuation sheets attached

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




                 DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. §110)

  I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110: (2) I prepared this document for compensation
and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if
rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by bankruptcy petition preparers, I
have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required by
that section.


Printed or Typed name and Title, if any, of Bankruptcy Petition Preparer                                                         Social Security No. (Required by 11 U.S.C. § 110)

If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the office, principal, responsible
person, or partner who signs this document.




Address



Signature of Bankruptcy Petition Preparer                                                                                                       Date

Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is not
an individual:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
imprisonment or both. 18 U.S.C. § 156.
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                                                   United States Bankruptcy Court
                                                              Northern District of Illinois

     In re Imelda Villagomez, Debtor

                                                                                                      Case No._________________

                                                                                                      Chapter_____7___________



                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR


1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s) and that
   compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or
   to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

   For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $1,100.00

   Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . $1,100.00

   Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $0.00


2. The source of the compensation paid to me was:

             [X] Debtor                          [ ] Other (specify)


3. The source of compensation to be paid to me is:

             [X] Debtor                          [ ] Other (specify)


4. [X] I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
        firm.

  [ ] I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my law
      firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

   a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
      bankruptcy;

   b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

   c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
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                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR (Continued)



   d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

   e. [Other provisions as needed]



6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                           CERTIFICATION
                 I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me
                 for representation of the debtor(s) in this bankruptcy proceeding.




                  5/17/2014                                      /s/ Martin J. O’Hearn
                  Date                                           Signature of Attorney
                                                                 The Law Offices of Martin J. O’Hearn_
                                                                 10047 South Western Avenue, Chicago, IL 60643
                                                                 (773) 238-4400 Atty Reg# 6185904
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4/2008                                                             Law Offices of Martin J. O'Hearn
CHAPTER 7 - Individual Debtor
Contract for Legal Services

Total Attorneys Fees $1,100.00 Advance Payment Retainer Filing Fees $306.00 to be paid prior to filing

I retain the Law Offices of Martin J. O'Hearn to prepare and file a Chapter 7 Bankruptcy Petition
and to represent me in this matter. I understand and agree that:

            1.      The attorney fees stated above do not include representation in any: post-petition
                    motion; dischargeability action; judicial lien avoidance; relief from stay action;
                    any adversary proceedings; or any post filing legal services.

            2.      I shall attend a mandatory Meeting of Creditors approximately four weeks after
                    my case is filed. If I have not received notice of the date of my Meeting of
                    Creditors within 14 days after my case has been filed, I shall telephone the Law
                    Offices of Martin J. O'Hearn to obtain the date for my Meeting of Creditors;

            3.      I agree to pay all attorney fees and filing fees as agreed above prior to the filing of
                    my case filing;

            4.      I agree that I will fully disclose all financial information to the Law Offices of
                    Martin J. O'Hearn. I shall provide the Law Offices of Martin J. O'Hearn with a
                    complete list of my creditors. I shall disclose all of my assets and debts to the
                    Law Offices of Martin J. O'Hearn and understand that it is a federal crime to
                    intentionally omit information from my bankruptcy petition;

            5.      If additional creditors need to be added to my petition after the case has been
                    filed, there will be an additional charge to amend my petition. Additionally,
                    attorney fees may be modified if substantial changes or additional facts are
                    discovered with regard to my financial situation;

            6.      This bankruptcy will not eliminate liens on real property and/or secured
                    property. This bankruptcy will not discharge: government insured student
                    loans; tuition and fees owed to not-for-profit schools; support obligations; benefit
                    overpayments; government fines (e.g., parking and traffic tickets); DUI charges;
                    certain income taxes; debts owed due to fraud or intentional injuries; or, debts
                    owed to creditors who successfully object to the discharge of their debt or to the
                    entire discharge.

            7.      Creditors are not required to allow debtor(s) to reaffirm their debts;

            8.      I may discontinue the services of the Law Offices of Martin J. O'Hearn at any
                    time and may then be entitled to a refund of unearned fees. In order to discharge
                    the Law Offices of Martin J. O'Hearn, I must submit a written request to do so.
                    Upon receipt of such request, the Law Offices of Martin J. O'Hearn will take
                    approximately 30 days to perform an accounting and a refund check will then be
                    issued for any unearned fees. Being an attorney with over 30 years of legal



                                                                                                                     1
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           experience with a concentration of 19 years in Bankruptcy practice, Mr.
           O'Hearn's billing rate is $400.00 per hour.

   9.      I authorize the Law Offices of Martin J. O'Hearn to hire co-counsel or
           independent attorneys to work on my case and to divide fees with such attorneys
           on the basis of work and responsibility; and

   10.     I authorize the Law Offices of Martin J. O'Hearn to order and review my credit
           report.

   11.     I acknowledge that I have received a list of approved Debtor Education
           Providers to take my Post Filing Personal Financial Management Course and
           that it shall be my responsibility to take said course after I file my Chapter 7
           Bankruptcy Proceeding.

I acknowledge that I have read and been orally advised of the terms of this agreement and
that the undersigned attorney has explained to be the differences between filing a Chapter 7
Bankruptcy and a Chapter 13 Bankruptcy.




Debtor                   •




Debtor




           5-/'?-/j
Date




                                                                                              2
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B 8 (Official Form 8) (12/08)


                                UNITED STATES BANKRUPTCY COURT
                                                   Northern District
                                                  __________         of of
                                                              District  Illinois
                                                                           __________
      Salvador Villagomez and Imelda Villagomez
In re ____________________________,                                                     Case No. ___________________
                      Debtor                                                                        Chapter 7

             CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
PART A – Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is
secured by property of the estate. Attach additional pages if necessary.)

 Property No. 1

 Creditor's Name:                                                   Describe Property Securing Debt:
                        Bank of America                             8508 West 45th Place, 1B, Lyons, IL 60534

 Property will be (check one):
     ✔ Surrendered
     u                                                 u Retained

 If retaining the property, I intend to (check at least one):
       u Redeem the property
       u Reaffirm the debt
       u Other. Explain ________________________________ (for example, avoid lien
 using 11 U.S.C. § 522(f)).


 Property is (check one):
     ✔ Claimed as exempt
     u                                                            u Not claimed as exempt

 Property No. 2 (if necessary)

 Creditor's Name:                                                   Describe Property Securing Debt:
        Doljes Realty & Property Management                         8508 West 45th Place, 1B, Lyons, IL 60534

 Property will be (check one):
     ✔ Surrendered
     u                                                 u Retained

 If retaining the property, I intend to (check at least one):
       u Redeem the property
       u Reaffirm the debt
       u Other. Explain ________________________________ (for example, avoid lien
 using 11 U.S.C. § 522(f)).


 Property is (check one):
     ✔ Claimed as exempt
     u                                                            u Not claimed as exempt
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PART B – Personal property subject to unexpired leases. (All three columns of Part B must be completed for
each unexpired lease. Attach additional pages if necessary.)

 Property No. 1

 Lessor’s Name:                              Describe Leased Property:   Lease will be Assumed pursuant
                                                                         to 11 U.S.C. § 365(p)(2):
                                                                         u YES            u NO

 Property No. 2 (if necessary)

 Lessor’s Name:                              Describe Leased Property:   Lease will be Assumed pursuant
                                                                         to 11 U.S.C. § 365(p)(2):
                                                                         u YES           u NO

 Property No. 3 (if necessary)

 Lessor’s Name:                              Describe Leased Property:   Lease will be Assumed pursuant
                                                                         to 11 U.S.C. § 365(p)(2):
                                                                         u YES           u NO

  0 continuation sheets attached (if any)
_____

I declare under penalty of perjury that the above indicates my intention as to any property of my
estate securing a debt and/or personal property subject to an unexpired lease.




           5/17/2014
Date: ____________________                                /s/ Imelda Villagomez
                                            ___________________________________________
                                            Signature of Debtor


                                            ___________________________________________
                                            Signature of Joint Debtor
